       Case 5:24-cv-00662-JD          Document 1-1         Filed 06/28/24       Page 1 of 1




                    IN THE DISTRICT COURT OF POTTAWATOMIE COUNTY
                                  STATE OF OKLAHOMA

CITIZEN POTAWATOMI COMMUNITY
COMMUNITY DEVELOPMENT CORPORATION,

       Plaintiff,

V.                                                                            CJ-2024-141

NATHAN 0. BEAUCHAMP;
ADA OUTDOORS,LLC, an Oklahoma limited
liability company;
SHAWNEE OUTDOORS,LLC, an Oklahoma limited
liability company; et al.

       Defendants.

                                           SUMMO_NS

To the above-named Defendant:         Robert J. Troester,U.S. Attorney
                                      U.S. Attorney's Office
                                      21 O Park Ave, Suite 400
                                      Oklahoma City,OK 73102

You have been sued by the above-named Plaintiff,and you are directed to file a written answer to the
att    d Petition in the Court at the above address within sixty (60) days after service of this
            on you, exclusive of the day of service. Within the same time, a copy of your answer
               ed or mailed to the attorney for the Plaintiff. Unless you answer the petition within
                'udgment will be rendered against you with costs of the action.

                 nel,2024.                                             ���zen, Court Cler!<
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                                                           w�j:---     Deputy�
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Attorneys for Plaintiff:
George Wright, OBA #21873
1601 Gordon Cooper Drive
Shawnee, OK 74801
(405) 275-3121
george.wright@potawatomi.org

This Summons was served by certified mail on_       ___________,2024.




                                          EXHIBIT 1
